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UNITED STATES DISTRICT COURT

   
  

 

SOUTHERN D|STRICT OF MlSS\SS|PP|
F l L E D

 

 

 

 

 

 

     

S()UTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION MAY ~1 2018
ARTHUR JOHNSTON DEFUT¥

SECURIT[ES AND EXCHANG]§`l
COMMISSION, ‘

' Plaintiff,

v. Case No. 3:18-CV-252-

DPJ-FKB
ARTHUR LAMAR ADAMS AND
MADISON TIlV[BER PROP.ERT[ES, LLC, (FILED UNDER SEAL)
Defendants,

 

 

' PLAINTIFF’S MOTION TO UNSEAL RECORD-

Pursuant to Loca'l Rule 79(b), Plaintiff, Securities and Exchange
Comrnission (the “SEC”),.iiles this Motion t_o Unseal the Record~in this civil
b action.

As the Court is aware, the SEC requested that the record be sealed in order
to allow the SEC time to serve the Court’s Consent Order and Asset Freeze before
news of the fraud had spread, creating risk of dissipation of assets. At this time,
the SEC represents to the Court that it has taken all necessary efforts to serve the

asset freeze order on banks and individuals associated With Defendants. ln

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addition, upon information and belief, the SEC understands that criminal charges

against Defendants may be made public as soon as today.

Accordjngly, there is no further need for the SEC’s civil action to be sealed, s

n and the seal should be lifted. -

, Dated this lst day of May, 201»8.

Respectfully submitted,

S/ W Shawn Mumahan .

W. Shawn Murnahan

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

 

 

 

NoRTHERN DIvIsioN

sECURITIEs AND EXCHA_NGE
CoMMissIoN,

Plaintiff,

v. case No. 3:18-Cv-‘252-
' DPJ-FKB‘

ARTHUR LAM AR ADAMS AND
MADISON TIMBER PROPERTIES, LLC, (FiLED UNDER sEAL)

Defendants,

CERTIFICATE oF sERvICE

l hereby certify that on this day, I served a true and correct copy of the
Plaintiff’s Motion to Unseal Record on lohn M. Colette, Esq., as counsel for
‘ Defendants, via email and by United Parcel Service. n
Dated this lst day of May, 2018.v

. f Respectfully submitted,

S/ W Shawn Mumahan
W. Shawn Murnahan

